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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT




 GERVIL ST. LOUIS,                               :
 Also known as St. Louis Gervil,                 :
                                                 :
      Plaintiffs                                 :
                                                 :
 v.                                              : NO. 3:13-cv-01132-RNC
                                                 :
 DOUGLAS PERLITZ, FATHER PAUL E.                 :
 CARRIER, S.J., HOPE E. CARTER, HAITI            :
 FUND, INC., FAIRFIELD UNIVERSITY, THE           :
 SOCIETY OF JESUS OF NEW ENGLAND,                :
 and SOVEREIGN MILITARY HOSPITALLER              :
 ORDER OF ST. JOHN OF JERUSALEM OF               :
 RHODES AND OF MALTA, AMERICAN                   :
 ASSOCIATION, U.S.A., also known as Order        :
 of Malta, American Association, USA,            :
                                                 :
    Defendants                                   :
 ____________________________________/           :



                                         JUDGMENT

      These actions came before the Court (Chatigny, J.) on plaintiffs’ motion for final

approval of class settlement and plaintiffs’ motion for attorneys’ fees and costs (an order

granting interim approval to the class settlement had previously entered).

  After due consideration, both motions were granted and an order giving final approval

to the class settlement was entered.

  Accordingly, it is hereby

  ORDERED, ADJUDGED and DECREED that judgment be and hereby is entered on

the terms set forth in the Interim and Final Approval Orders.
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   1. Each qualifying settlement class member will be paid a sum of money from the

settlement fund in an amount to be determined in accordance with the terms of the Final

Approval Order. Initial distributions in the amount of $5,000 will be paid to each

qualifying settlement class member within 45 days of the determination that he is a

member of the class.

  2. Class counsel is awarded attorneys’ fees in the amount of $18,600,000, and costs

and expenses in the amount of $2,105,629.94. Class counsel will pay $500,000 to local

counsel.

   3. All claims of settlement class members against “released parties” (as defined in

the settlement agreement), including, without limitation, all class claims, made in these

actions and all related actions, are terminated, on the merits, with prejudice.

       Dated at Hartford, Connecticut, this 26th day of September 2019.

                                          ROBIN D. TABORA, Clerk



                                           By_ /s/ LP____________________
                                            Lynne Pipech
                                            Deputy Clerk


EOD: 9/27/2019
